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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

Davontae Ross, et al.,

       Plaintiffs,
                                                Case No.: 2:19-cv-11076
v.                                              Hon. Laurie J. Michelson
                                                Hon. Mag. J. Elizabeth A. Stafford
Honorable Chief Judge of Michigan’s
36th District Court, in his official capacity
as Chief Judge of Michigan’s 36th
District Court, et al.,

       Defendants.
                                         /

                          NOTICE OF APPEARANCE
      To the Clerk of the Court:

      Please enter the appearance of Aaron Lewis (P68688) as one of the attorneys

for Plaintiffs in the above-captioned case.


                                        Respectfully submitted,

                                        /s/ Aaron Lewis
                                        Aaron Lewis (P68688)
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                                        Los Angeles, CA 90067-4643
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Dated: November 16, 2021
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                          CERTIFICATE OF SERVICE

       I hereby certify that on November 16, 2021, I electronically filed the foregoing
document with the Clerk of the Court using the ECF system, which will send
notification of such filing to all counsel of record.

                                        /s/ Aaron Lewis
                                        Aaron Lewis (P68688)




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